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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


                                                            CASE NO. 2:20-CV-16567

BETSY FRESSE
                                                            FIRST AMENDED
     Plaintiff,                                             COMPLAINT AND JURY
                                                            TRIAL DEMAND
v.

STARBUCKS CORPORATION d/b/a,
STARBUCKS COFFEE COMPANY

        Defendant.



                                    COMPLAINT

       This is an action under Title VII of the Civil Rights Act of 1964 to address

unlawful religious discrimination by Starbucks Corporation d/b/a Starbucks Coffee

Company (“Starbucks”). Specifically, Plaintiff Betsy Fresse, a barista for Starbucks

for more than three years, was terminated after Starbucks became aware that Mrs.

Fresse’s religious beliefs would have prevented her from wearing a company PRIDE

t-shirt. In support thereof, Plaintiff alleges, and states as follows:


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                       ADDRESSES OF THE PARTIES

      1.    Plaintiff Betsy Fresse, a resident of Newark, New Jersey, may be

contacted through her counsel, whose addresses are noted in this Complaint, so that

her privacy is maintained.

      2.    Defendant Starbucks is headquartered at 2401 Utah Avenue, South,

Suite 800, Seattle, Washington, 98134.

                        JURISDICTION AND VENUE

      3.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §§

1331, 1337 and 1343.

      4.    This action is authorized pursuant to Section 706(f)(1) and (3) of Title

VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e to 2000e-17.

      5.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) and 42

U.S.C. § 2000e-5(f).

      6.    All employment practices alleged to be unlawful were committed

within the jurisdiction of the United States District Court for the District of New

Jersey.

                                    PARTIES

      7.    Plaintiff, Betsey Fresse, is an individual and citizen of New Jersey.




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        8.     Defendant Starbucks Corporation d/b/a Starbucks Coffee Company is

organized under the laws of Washington with its headquarters located at 2401 Utah

Avenue, South, Suite 800, Seattle, Washington, 98134.

        9.     Defendant maintains locations throughout the State of New Jersey,

including in Hoboken and Glen Ridge and maintains fifteen or more employees.



                          ADMINISTRATIVE PROCESS

        10.    On or about February 3, 2020, Plaintiff filed a Complaint with the Equal

Employment Opportunity Commission (“EEOC”) complaining of acts of

discrimination alleged herein.

        11.    On or about August 21, 2020, the EEOC issued the Plaintiff a Notice

of Right to Sue. Attached hereto as Exhibit A is a true and correct copy of the notice.

        12.    Plaintiff has met all administrative prerequisites necessary for filing

this action.

                            FACTUAL ALLEGATIONS

        13.    Mrs. Fresse began her employment with Starbucks in or about

December 2015 where she worked as a barista until her termination on or about

August 22, 2019.

        14.    Mrs. Fresse is a Christian and member of a church located in Jersey

City.



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         15.   Mrs. Fresse holds the personal religious belief that God created man

and woman, that marriage is defined in the Bible as between one man and one

woman only, and that any sexual activity which takes place outside of this context

is contrary to her understanding of Biblical teaching.

         16.   Mrs. Fresse holds the personal religious belief that all people need

Jesus.

         17.   Mrs. Fresse believes that every Christian, is called to love and treat

everyone with respect and compassion, irrespective of their religious or other beliefs.

         18.   Mrs. Fresse believes that every Christian is called to express in word

and deeds Christ’s love for everyone.

         19.   Mrs. Fresse, during her employment with Starbucks, served all

customers without discrimination on any basis including sexual orientation.

         20.   Mrs. Fresse was hired by Starbucks on or about December 2015 as a

barista in store # 14479 in Hoboken, New Jersey.

         21.   During her employment as a barista in the Hoboken store, many of Mrs.

Fresse’s managers were made aware of her sincerely held religious beliefs because

Mrs. Fresse regularly requested Sundays off, as well as Tuesday and Friday nights

to allow her the ability to attend church and other religious gatherings. Some

managers and co-employees, upon specific inquiry, were also made aware of her

religious beliefs regarding sexuality.



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      22.    In or about February 2019, following Plaintiff’s relocation of her

residence from Jersey City to Newark, and in order to reduce her commute time to

and from work, Plaintiff sought a job in Starbucks store #13383 in Glen Ridge New

Jersey.

      23.    At the time Plaintiff interviewed for the job as a barista in store #13383,

Plaintiff informed the store manager, Matthew Phillips, that she would be unable to

work on Sundays, Tuesday and Friday evenings because she attended church and/or

participated in religious activities on those days and times.

      24.    Mr. Phillips assured Plaintiff that her unavailability on Sundays and

certain evenings would not be a problem because there were plenty of employees

willing to work those days and times.

      25.    Plaintiff began working as a barista in store # 13383 in Glen Ridge in

or about February 2019.

      26.    During Plaintiff’s time working as a barista, another of the store’s

managers, Megan Ferrera, was also made aware of Plaintiff’s religious beliefs. Mrs.

Fresse, upon inquiring about a position as a shift leader, was informed by Ms. Ferrera

that she would not be considered for the position because she remained unavailable

on Sundays and some evenings.

      27.    On or around June 2019, Mrs. Fresse attended a meeting with other

Starbucks employees in Mr. Phillips’ office. It was during this meeting that Mrs.



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Fresse noticed a box of Starbucks PRIDE t-shirts resting on top of another box on

the floor beside Mr. Phillips’ desk.

      28.    Mrs. Fresse, while she holds no enmity toward individuals who ascribe

to the LGBTQ lifestyle and/or make up the LGBTQ community, believes that being

made to wear a PRIDE t-shirt as a condition of employment would be tantamount to

forced speech and inaccurately show her advocacy of a lifestyle in direct

contradiction to her religious beliefs.

      29.    At the end of the meeting, and after all other employees had left Mr.

Phillips’s office, Mrs. Fresse inquired whether she would be required to wear the

PRIDE t-shirt during her shifts at the store. Mr. Phillips assured her she would not

have to wear the t-shirt.

      30.    Based on Mr. Phillips’s assurances, Mrs. Fresse believed the matter to

be resolved and that her religious beliefs would be accommodated.

      31.    A few weeks after Mrs. Fresse’s conversation with Mr. Phillips about

the PRIDE t-shirts, and upon information and belief that someone complained of her

request to be exempt from wearing a PRIDE t-shirt, Mrs. Fresse was contacted by

Starbucks’s Ethics and Compliance Helpline (hereinafter “E&C”). Upon specific

inquiry by E&C, Mrs. Fresse explained to E&C that she did not want to wear the

PRIDE t-shirt because her religious beliefs prevented her from doing so.




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      32.    On or about August 22, 2019, and without any further conversation or

advance notice, Mrs. Fresse was notified by district manager Angela Durand and

store manager Megan Ferrera that her comportment was not in compliance with

Starbucks’ Core Values and that she was consequently being terminated. She was

then handed a Notice of Separation.

      33.    The Notice of Separation, dated August 22, 2019, described the reasons

for separation specifically as follows:

      This shall serve as Betsy’s Notice of Separation for acting in violation of
      Starbuck’s Core Values.

      Upon being handed her PRIDE t-shirt Betsy stated she did not want to wear
      a PRIDE t-shirt and that partners “need Jesus”.

      As stated in the Ops Excellence Field Guide: under Creating a culture of
      warmth and belonging, we enforce these values when we embrace inclusion
      and diversity, and welcome and learn from people with different backgrounds
      and perspectives.

See Exhibit B.

      34.    Contrary to the Notice of Separation, Mrs. Fresse (Betsy) was never

handed a PRIDE t-shirt.

      35.    Starbucks proclaims to be a beacon for inclusion and diversity. On its

website, Starbucks asserts that it nurtures a culture of inclusion and states as follows:

      We’re committed to upholding a culture where inclusion, diversity, equity and
      accessibility are valued and respected. Your entire experience –starting with
      your application-is designed to be the beginning of an inspirational journey,
      where you are treated warmly and with transparency.



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https://www.starbucks.com/careers/working-at-starbucks/culture-and-values.

         36.   Nonetheless, and in direct violation of its stated commitment to

inclusion and diversity, Starbucks sought to exclude and silence Mrs. Fresse whose

religious beliefs it deemed undesirable.

         37.   As a result of Starbucks’s unlawful discrimination, Mrs. Fresse has

suffered irreparable injury, monetary damages and has incurred attorneys’ fees and

costs.

                                   CAUSE OF ACTION

                                   Violation of Title VII

         38.   The allegations in the Paragraphs above are incorporated by reference

herein as if fully set out.

         39.   Pursuant to Title VII, “religion includes all aspects of religious

observance and practice, as well as belief.” 42 U.S.C. § 2000e(j).

         40.   Pursuant to Title VII, and having sincerely held religious beliefs of

which Starbucks was fully aware, Mrs. Fresse belongs to a protected class.

         41.   Starbucks’s decision to terminate Mrs. Fresse was not based on

objective, job-related criteria, but upon her religious beliefs, observance and/or

practices.

         42.   Starbucks further, failed to reasonably accommodate Plaintiffs

religious beliefs, observance and/or practices.



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      43.    The effect of Starbucks’s practices complained of in the paragraphs

above has been to deprive Mrs. Fresse of equal employment opportunities and

otherwise adversely affect her status as an employee because of her religious beliefs.

      44.    The unlawful employment practices of Starbucks and complained of in

the paragraphs above were intentional.

      45.    The unlawful employment practices of Starbucks were done with

malice and/or reckless indifference to Plaintiff’s protected rights and warrant the

imposition of punitive damages.



                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff Betsy Fresse respectfully requests that the Court

enter judgment against Defendant, and provide Plaintiff with the following relief:

      (a)    A permanent injunction enjoining Defendant, its officers, agents,
             servants, employees, attorneys and all persons in active concert or
             participation with it from failing to accommodate the sincerely held
             religious beliefs of Plaintiff.

      (b)    A declaratory judgment that Defendant’s actions violated Plaintiff’s
             rights under Title VII.

      (c)    An order requiring Defendant to institute and carry out policies,
             practices, and programs which provide equal employment opportunities
             for all employees, regardless of religion and/or religious beliefs.

      (d)    Appropriate backpay with prejudgment interest in an amount to be
             determined at trial and other affirmative relief necessary to eradicate
             the effects of unlawful employment practices complained of herein,



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            including but not limited to restatement or alternatively awarding front
            pay.

      (e)   Compensation for past and future pecuniary losses resulting from the
            unlawful employment practices complained of herein in an amount to
            be determined at trial.

      (f)   Compensation for past and future non-pecuniary losses resulting from
            the unlawful practices complained of herein, including emotional pain
            and suffering, in an amount to be determined at trial.

      (g)   Punitive damages in an amount to be determined at trial.

      (h)   Reasonable attorneys’ fees and other litigation costs reasonably
            incurred in this action pursuant to 42 U.S.C. § 2000e-5(k).

      (i)   An Order granting to Plaintiff all further relief to which Plaintiff may
            be entitled.

                                 JURY DEMAND

      Plaintiffs hereby demand a trial by jury of all issues so triable pursuant to Rule

38 of the Federal Rules of Civil Procedure and the Seventh Amendment of the

United States Constitution.

Date: January 11, 2021

                                        Respectfully submitted
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                       EXHIBIT A
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                       EXHIBIT B
                         Docket
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                            Document       Exhibit
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